   Case 1:20-cv-24958-KMW Document 1-7 Entered on FLSD Docket 12/03/2020 Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the


                                                  SOUTHERN DISTRICT OF FLORIDA
                                                        MIAMI DIVISION
            COMPONENTS ONLY PTY LTD.,                               )
                                                                    )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No.
                                                                    )
BURTON INTERNATIONAL, INC., dba MB GLOBAL,                          )
 MICHELLE BURTON, CHRISTOPHER BURTON,
                                                                    )
ERNESTO WEISSON, HEAVY WOODS LTDA EIRL,
   JORGE LUIS VILLANEUVA MACPHERSON                                 )
                                                                    )
                           Defendant(s)                             )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                       Ernesto Weisson, 4 Coconut Lane, Key Biscayne, FL 33149




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Jordan Lewin
                                       Barakat + Bossa PLLC,
                                       2701 Ponce De Leon Blvd., Ste 202,
                                       Coral Gables, FL 33134,
                                       T:305-444-3114,
                                       E: service@b2b.legal

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:
                                                                                         Signature of Clerk or Deputy Clerk
